Case 19-12796-abl Doc 37 Entered 06/13/19 08:16:40 Page1of3

Fill in this information to identify your case:

 

 

 

Debtor 1 Thomas L. Vater Check if this is:

mM Anamended filing
Debtor 2 [) Asupplement showing postpetition chapter
{Spouse, if filing} 13 expenses as of the following date:
United States Bankruptcy Court for the: DISTRICT OF NEVADA MM ‘DDI YYYY

 

Casenumber 19-12796

Gf known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Describe Your Household
1. Is this a joint case?

HI No. Go to line 2.
C Yes. Does Debtor 2 live ina separate household?

OO No
C1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyou have dependents? (No

   

 

 

 

Do not list Debtor 1 and Yes ‘Fill out this information for Dependent's relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you?
De not state the ONo
dependents names. Daughter 13 Byes

O No

Daughter 14 B ves

ONo

C] Yes

O No

O Yes

 

3. Do your expenses include CJ No
expenses of people other than Hy
yourself and your dependents? es

Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know ite
the value of such assistance and have included it on Schedule : Your income :
(Official Form 1061.)

 

4. The rental or home ownership expenses for your residence. Include first mortgage

 

 

 

 

 

payments and any rent jor the ground or loi. 4. $ 6,814.00

lf not included in line 4:

4a. Real esiate taxes 4a. $ 0.00

4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00

4c. Home maintenance, repair, and upkeep expenses 4c. $ 300.00

4d. Homeowner's association or condominium dues 4d. $ 83.50
5. Additionai mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

Official Form 106J Schedule J: Your Expenses page 1
6.

oO MN

11.
12.

13.
14.
18.

16.

17.

18.

19.

20.

21.
22.

23.

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Debtor! Thomas L. Vater Case number (ifknown)  19-12796

Utilities:
6a. Electricity, heat, natural gas 6a. §$ 600.00
6b. Water, sewer, garbage collection 6b. § 176.00
6c. Telephone, cell phone, Internet, satellite, and cable services Gc. $ 610.00
6d. Other. Specify: IT 6d. $ 225.00
Food and housekeeping supplies 7. § 600.00
Childcare and children's education costs &. § 2,065.00
Clothing, laundry, and dry cleaning 9. §$ 150.00
Personal care products and services 10. § 200.00
Medical and dental expenses 11. $ 500.00
Tran ion. | de gas, maintenance r train fare.
Do nat include var payment pus 12. $ 400.00
Entertainment, clubs, recreation, newspapers, magazines, and hocks 13. $ 0.00
Charitable contributions and religious donations 14. $ 0.00
Insurance.
Do not include insurance deducted fram your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 0.00
15b. Health insurance 15b. §$ 2,079.25
15c. Vehicle insurance 15c. $ 546.83
15d. Other insurance. Specify: 15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20,
Specify: Back Taxes 16. §$ 150.00
Installment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 478.00
17b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: 401K Loan Repayment 17c. $ 1,001.00
17d. Other. Specify: 17d. § 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line §, Sehedule f, Your income (Official Form 1061). 18. $ 7,500.00
Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule i: Your Income.
20a. Mortgages on other property 20a. $ 1,950.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 300.00
20e. Homeowner's association or condominium dues 20e. §$ 83.00
Other: Specify: 21. +3 0.00
Calculate your monthly expenses
22a. Add lines 4 through 21, $ 26,811.58
22b. Capy line 22 (monthly expenses for Debtor 2), if any, irom Official Form 106J-2 $
22c. Add tine 22a and 22b. The result is your monthly expenses. $ 26,811.58
Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income} from Schedule |. 23a. § 25,897.67
23b. Copy your monthly expenses from line 22c above. 23b. -§ 26,811.58
23¢. Subtract your monthly expenses from your monthly income.

The result is your monthly net income. 23¢. | $ (913.91

24.

Official Form 106J

Do you expect an increase or decrease in your expenses within the year after you file this form?
For exampie, do you expect to finish paying for your car loan within the year or do you expect your morigage payment to increase or decrease because of a

modification to the terms of your mortgage?

HM no.

 

 

OO Yes. Explain here:

Schedule J: Your Expenses

page 2
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Fill in this information to identify your case:

Debtor 1 Thomas L. Vater
First Name Middle Name Last Name

 

Debtor 2
{Spouse if, filing) First Name Middla Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF NEVADA

 

Case number 19-12796
(if known) M@ Check if this is an
amended filing

 

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/45

if two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with 2 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

S| Sian Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

mw No

OU Yes. Name of person Attach Bankrupicy Petition Preparer’s Notice,
Declaration, and Signature (Official Farm 119)

 

Under penalty of perjury, ! declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

 

 

X Is/ Thomas L. Vater x
Thomas L. Vater Signature of Debtor 2
Signature of Debtor 1
Date June 11, 2019 Date
Official Form 106Dec Declaration About an Individual Debtor's Schedules

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